Deposition of George Pete Conez

Case 5:10-cv-00665-XR Document 55-1 Filed 09/12/11 Page 1 of 12

Virginia Barrera vs. MTC,, Inc. dfb!a Mi Tierra Cafe and Bakery

 

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instance of the PLAINTIFF, taken in the above-styled

 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

Y

 

VIRGINIA BARRERA

Plaintiff
cIvIL ACTION NO.
v. 5:10~cv~665

, '.';-.\' \ i€z‘.'_"'=:.:s '
MTC, INC. d/b/a MI TIERRA cAFE; c

AND BAKERY

Defendant

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* * x w § * * * * * *
ORAL AND VIDEOTAPED DEPOSITION OF GEORGE P. CORTEZ
VOLUME l
NOVEMBER 5, 2010
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ORAL AND VIDEOTAPED DEPOSITION Of GEORGE P.

CORTEZ, produced as a witness duly sworn by me at the

and numbered cause on the Eth day of November, 2010,
from 9:08 a.m. to 11:36 a;m., before NATALIE
HUNSUCKER, Certified Court Reporter No. 4279 in and
for the State of Texas, at the offices of COX SMITH
MATTHEWS INCORPORATED,_llZ E. PeCan Street, Suite
1800, San Antonio, Texas 78205, pursuant to the
Federal Rules of Civil Procedure and the provisions

stated on the record or attached therein.

§§§§§“§E§W §§

 

 

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Deposition of George Pete Cortez Virginia Barrera vs. MTC., Inc. dfb/a Mi Tierra Cafe and Bakery _

 

1 the top of my head, I cannot think of any of the --

2 the service bartenders that are -- there we‘re taking
3 a tip credit on.

4 Q. There may or may not be?

5 A. There may or may not be, but I don't -- I

6 cannot think of anybody right now.

7 Q. And if I asked you to supply me a list of

8 individuals that are currently being paid under 7.25,
9 how would you go about compiling that list?
10 A. I mean, we would -- I'm sure we could run a

11 report, you know, by department, you know, that shows

12 the wages of each, you know, employee.

13 Q. And you would do that internally?

14 A. Yes.

15 Q. Okay. I was flipping through some of these

16 pay stubs or these earning statements of Virginia
17 Barrera and noticed that there are deductions for

18 meals on each earning statement. How does that work?

19 A. Can I see it?

20 Q. Sure. I don't know if that one has a meal.
21 1 was F- Some of them do, it seems, and maybe some
22 don't.

23 A. Yeah. l ~- I don't -~ 1 don't see that on

24 this one. But, I mean, typically, you know, what we

25 do is we offer all the employees -» Oh, is that it?

 

 

 

 

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Deposition of George Pete Cortez Virginia Barrera vs. MTC., lnc. dib/a Mi 'L`ierra Cafe and Bakery
1 Q. Is that it right there -»
2 A . Oh .
3 Q. -- TC meal?
4 A. I'm sorry. 1 was looking at the "T." 1
5 didn't see that.
6 Q. That's okay.
7 A. And that‘s why, by the way, when we did look
8 at this, it didn't make a lot of sense to us why it
9 was set up that way. So we -- In the newer format,
10 it's much clearer.
11 Base ~- Basically, we offer a discounted
12 meal price for all of the -- all of the employees in
13 the company. And -» And so that's basically how it
14 works. 1t*s on a per day shift. Every day that they
15 work, it's -~ 1 -- 1 believe it's $3 a day, 1 think it
16 is, or maybe 3.25, something like that.
17 Q. What if they don't eat at the restaurant?
18 A. Usually, when they don't eat at the
19 restaurant, they inform their manager or they'll
20 inform the admin person who prepares the -- the weekly
21 payroll. And, 1 mean, 1 -- 1 got a call from an
22 employee last week that mentioned to me, “1 -- 1
23 was ~- I'm leaving for lunch today. Is it okay if 1
24 don‘t, you know, get charged for that?“ Sure.
25 Absolutely.

 

 

 

 

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Deposition of George Pete Cortez

Virginia Barrera vs. MTC., Inc. d/b/a Mi 'I`ierra Cafe and Bakery

 

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Q. Okay.

that to someone‘s attention?

A. Yes.
meal.

Q. What

A. Then

Q.

A. Yeah.
based -- 1t's

a shift, then

Q. Does
identify days
vacation such
that a manual

A. I ~-

question. 1 mean, if they didn't punch in, then the

system wouldn‘

Q.` Well,

right, because they may have accrued sick or Vacation

time?

A. No.

Q. That's not offered?

A. Correct.

Q. What if somebody came to work and then went
home early, would that be deducted for the -- for the

There's no deduction if they -~

But it's up to the employee to bring

But my experience is they don‘t miss a

if they're home sick?

they don't -- They don't pay.

1t's only -- it's only -- it's only
on if they worked. lf ~- If they worked
that's -- that's when we §

the payroll system, is it able to
when the employee is home sick or on
that that deduction is not made or is
operation of some sort?

I'm not sure how to answer your

t reflect that they were there.

but they may get paid for that day,

 

 

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Deposition of George Pete Cortez Virginia Barrera vs. M'I`C., Inc. d/bfa Mi Tierra Cafe and Bakery

 

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meal service if they left before lunch?

A. No, probably not.

Q. How do you know? You say probably not.
A. Well, what 1 ~- The reason 1 would say that
is that 1 think that our ~~ our rule of thumb is that

anybody who's been, you know, on the clock for more --
more than four and a half ~- four to four and a half
hours, 1 think, that they would ~- they would have the
deduction. And it’s something that the -- the
payroll -~ not the payroll -- the administrative
person, when they're processing the payroll on a
weekly basis, you know, they go through the -- they go
through it one by one. And -- And if somebody did
not, you know, work, if they just punched in and
punched out, they wouldn't be charged.

Q. And -~ But that's a manual operation? That's

not something that's built into the software system?

A. Yes. 1 don't believe, at this time, it's
built in.
Q. And the -- the rule that's applied by the

payroll personnel is if an employee was on the clock
for four hours, then there was an automatic deduction
for lunch; is that correct?

A. Correct. And I'd have to verify the four,

but 1 -- 1 believe it's four. lt could be four and a

 

 

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Deposition of George Pete Cortez

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Virginia Barrera vs. MTC., Inc. dib/a Mi Tierra Cafe and Bakery

 

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money off that meal.

A. Well, it depends -- 1 mean, it depends on how
you define cost. 1 mean, if it cost -- the cost of
the product, the cost of the labor to produce the
product, 1 mean, 1 guess it would depend on what
they -~ what they ordered, 1 mean.

Q. bet -- Let me try to go about it a different
way. How did the company go about setting the amount
that it deducts from employees for the cost of meals?

A. 1 mean, that's been in place for many years.
1 can't specifically remember, you know, what the
rationale was. 1 mean, as 1 recall, 1 mean, 1 think
we probably took like an average, you know, meal price
of maybe 10 to $12 and -- and tried to take what our
normal food cost would be, say 25, 30 percent,
depending on what the meal may be, and then applied
that percentage to that. So 1 would ~- 1 would assume
that's ~- So, in other words, if we ran a -- if the
average meal price was $10, depending on what -- you
know, what was ordered, 30 percent would be $3.

Q. And that 30 percent would be the -- the cost
of the --

A. Of the food itself.

Q. ~~ food itself?

A. You know, not including the labor to produce

 

 

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Deposition of George Pete Cortez

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Virginia Barrera vs. MTC., Inc. dfb/a Mi Tierra Cafe and Bakery

it.
Q. Okay.
A. Or any overhead.
Q. But what you're -- 1t sounded like you were

kind of assuming that's what was done. But you don‘t
specifically recall that that's how it was calculated
or do you?

A. 1 mean, 1 don't remember the specific, you
know, time and date and place where we had that
conversation. But that was, 1 mean, the rationale in
general how we figured it out.

Q. Okay. There's also, as 1 understand it, a
deduction made from all employees' pay for a meal

break. 1s that correct?

A. Correct.

Q. That's true for each of the -- the three
shifts?

A. Yeah. 1 would believe it would be, yes.

Q. Okay. And the meal break is -- 1 can't
remember if 1 said it -- but it's 30 minutes, correct?

A. Yes.

Q. 1s the full 30 minutes deducted even if the

employee only takes a 20Fminute lunch?
A. Well, they're instructed to -- You know, once

they've, you know, been sent on break or they‘ve asked

 

 

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BARRERAMFTC, INC.
GEORGE P. CORTEZ
Page 107
CHANGES AND SIGNATURE
CAUSE NO. 2008-'€1-18763
DEPOSITION ()F: GEORGE P. CORTEZ
DATE OF DEPOSITION: Novernber 5, 2010
PAGE LINE CHANGE REASON
8 16 “cafl`” to “café” 7 Correction -
l'/` l l typographical error
18 5, 12
41 25
100 15
25 10, 16 “Lydia” to “Lidia” Correction -misspelled
26 lI, 12 `
50 12
13 18-23 “Again, the ones that soinetiines, you know, happen Clarit`ication
when a - a customerjust, you know appreciated,
you know maybe sorne service that the host staff
may have provided to them, you know, if they
reported it, I- I couldn’t tell you ...” to
“Again, the ones that sometimes happen when a
customer appreciated some service that the host
staff rnay have provided to them and tipped the host
in cash, if they reported the cash tip every time, I
couldn’t tell you.
45 25 “tile” to “title” Correction -
. . typographical error
47 8-9 “personnel including but limited” to “personnel Correction
including but not limited”
58 9 “It’s on if they worked.” 'i`o “It’s only if they Correction -
\vorked.” typographical error
103 16 “Generally, the shucture is the same.’-’ to Claritication
“Generally, the structure is the same in that the
servers contribute a percentage of gross sales to the
tip pool Which is then distributed to participating
departments, but the percentages contributed are
different the percentages of the tip pool paid to the
departments are different and different departments
in the restaurants participate in the tip pool`.
103 7 24 “Pretty much.” to Clarification
“Pretty much, but the bartenders in the other
restaurants sell and serve drinks directly to
customers as well as prepare drinks for servers.”

 

 

 

 

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Deposition of Gecrge Pete Cortez

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Virginia Barrera vs. MTC., Inc. dib/a Mi Tierra Cafe and Bakery

 

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HOFFMAN REPORTING & VIDEO SERVICE

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1; GEORGE P. CORTEZ, have read the foregoing
deposition and hereby affix my signature that same is

true and correct, except as noted above.

C:SE;@@<AE;:> (Lctrre~`i

cannon 5. coarse _)

‘l`I-IE STA’I`E OF TEXAS )

COUNTY OF' BE}X.AR )

Before me, , on this day

personally appeared Q;@Qc% g §:;szz , known to me

(or proved to me under oath or through

) to be the person whose name is

 

subscribed to the foregoing instrument and

acknowledged to me that he_executed the same for the

purposes and consideration therein expressed.

Given under my hand and seal of office

this \?>t[" day of §_b,e.¢em§;a_; , 2010,

null 53er

Notary Public in and for the State of Texas

D\ANE E. STANER
Nofary Publto
STATE OF TEXAS
My Comm. Exp. 03-11-2014

 

 

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Depcsition of George Pete Cortez

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Virginia Barrera vs. MTC., Inc. dfb/a Mi Tierra Cafe and Bakery

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

VIRGINIA BARRERA

Plaintiff
CIVIL ACTION NO.

v. 5:10»cv-665
MTC, iNc. a/b/a MI TIERRA cars
inn saKERY

Defendant

 

REPORTER'S CERTIFICATION
DEPOSITION.OF GEORGE P. CORTEZ
VOLUME 1
November 5, 2010

1, NATALIE HUNSUCKER, a Certified Court
Reporter in and for the State of Texas, hereby certify
to the following:

That the witness, GEORGE P. CORTEZ, was duly
sworn by the officer and that the transcript of the
oral deposition is a true record of the testimony
given by the witness;

That the deposition transcript was submitted
on November f§, 2010, to the attorney for the
DEFENDANT for examination, signature, and return to
NATALIE nnnsucasn by necember §L, 2010;

That the amount of time used by each party at
the deposition is as follows:

MR. JEREMI K. YOUNG - 3:41;

 

 

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Deposition of George Pete Cortez

Case 5:10-cv-00665-XR Document 55-1 Filed 09/12/11 Page 11 of 12

Virginia Barrera vs. Ml`C., Inc. dfb)'a Mi Tierra Cafe and Bakery

 

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That pursuant to information given to the

deposition officer at the time said testimony was

taken, the following includes all parties of record:

MR.
MR.

MR.

for, related to, nor employed by any of the parties in

JEREMI K. YOUNG, ATTORNEY FOR PLAINTIFF;
RAMON D. BISSMEYER, MS. CORA C. MCGOWAN and
MARK W. KIEHNE, ATTORNEYS FOR DEFENDANT;

1 further certify that 1 am neither counsel

the action in which this proceeding was taken, and

further that 1 am not financially or otherwise

interested in the outcome of the action.

Further certification requirements will be

certified to after they have occurred.

 

Certified to by me this iii day of

, 2010.

"“l\ a~k_(t ll tt- 't,\i than ('=_l 0 r”'

NATALIE nUNsUtKER, Texas csa 4279
Expiration Date= 12/31/2011
Hoffman Reporting Service

Firm Registration No. 93

206 East Locust Street

San Antonio, Texas 78212

Phone: 210.736.3555

Fax: 210.736.6679

 

 

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Deposition of George Pete Cortez Virginia Barrera vs. M'I`C., Inc. d)'b/a Mi Tierra Cafe and Bakery
1 FURTHER CERTI FICATION
2 The original deposition of GEORGE P. CORTEZ,
3 Volume 1, was/was not returned to the deposition
4 officer; ug>li€&£¥bhlttrcdld}{d©
5 1f returned, the attached Changes and
6 Signature page contains any changes and the reasons
7 therefor;
8 If returned, the original deposition was
9 delivered by regular mail / certified mail to
10 MR. JEREMI K. YOUNG, Custodial Attorney;
11 That $ ldgldbis the deposition officer‘s
12 charges to the PLAINTIFF for preparing the original
13 deposition transcript and any copies of exhibits;
14 That the deposition transcript was delivered
15 in accordance with the Federal Rules of Civil
16 Procedure.
17 Certified to by me this day of
18 , 2010.
19
2 0
2 1
NATAL IE HUNSUCKER , TeXaS CSR 4 2 7 9
22 Expiration Date: 12/31/2011
Hoffman Reporting Service
23 Firm Registration No. 93
206 East Locust Street
24 San Antonio, Texas 78212
Phonez 210.736.3555
25 Fax: 210.736.6679

 

 

 

 

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